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                       EXHIBIT “CC”
       Case
11/18/21,       1:21-cv-24324-DPG
          3:47 PM                                          Document 1-32 EnteredSEC
                                                                                  onFORM
                                                                                     FLSD3 Docket 12/14/2021 Page 2 of 2

  SEC Form 3
            FORM 3                              UNITED STATES SECURITIES AND EXCHANGE                                                                     OMB APPROVAL
                                                              COMMISSION                                                                                                       3235-
                                                                              Washington, D.C. 20549                                                   OMB Number:
                                                                                                                                                                                0104
                                                                                                                                                       Estimated average burden

                                        INITIAL STATEMENT OF BENEFICIAL OWNERSHIP OF                                                                   hours per
                                                                                                                                                       response:
                                                                                                                                                                                  0.5
                                                          SECURITIES
                                                    Filed pursuant to Section 16(a) of the Securities Exchange Act of 1934
                                                           or Section 30(h) of the Investment Company Act of 1940

   1. Name and Address of Reporting Person*                2. Date of Event        3. Issuer Name and Ticker or Trading Symbol

   ARC Global Investments II
                                                           Requiring Statement
                                                           (Month/Day/Year)
                                                                                   Digital World Acquisition Corp. [ DWACU ]
   LLC                                                     09/02/2021
                                                                                   4. Relationship of Reporting Person(s) to                 5. If Amendment, Date of Original
                                                                                   Issuer                                                    Filed (Month/Day/Year)
   (Last)           (First)          (Middle)                                      (Check all applicable)
   C/O DIGITAL WORLD                                                                        Director           X     10% Owner
   ACQUISITION CORP.                                                                                                                         6. Individual or Joint/Group Filing
                                                                                            Officer (give            Other (specify
                                                                                                                                             (Check Applicable Line)
                                                                                            title below)             below)
   78 SW 7TH STREET
                                                                                                                                                X Form
                                                                                                                                                     Person
                                                                                                                                                           filed by One Reporting

                                                                                                                                                     Form filed by More than One
   (Street)                                                                                                                                          Reporting Person
   MIAMI            FL               33130

   (City)           (State)          (Zip)

                                                  Table I - Non-Derivative Securities Beneficially Owned
   1. Title of Security (Instr. 4)                                               2. Amount of Securities            3. Ownership            4. Nature of Indirect Beneficial
                                                                                 Beneficially Owned (Instr.         Form: Direct            Ownership (Instr. 5)
                                                                                 4)                                 (D) or Indirect
                                                                                                                    (I) (Instr. 5)

                                                     Table II - Derivative Securities Beneficially Owned
                                                (e.g., puts, calls, warrants, options, convertible securities)
   1. Title of Derivative Security (Instr.      2. Date Exercisable and       3. Title and Amount of Securities                4.                  5.               6. Nature of
   4)                                           Expiration Date               Underlying Derivative Security (Instr.           Conversion          Ownership        Indirect
                                                (Month/Day/Year)              4)                                               or Exercise         Form:            Beneficial
                                                                                                                               Price of            Direct (D)       Ownership (Instr.
                                                                                                            Amount or          Derivative          or Indirect      5)
                                                Date             Expiration                                 Number of          Security            (I) (Instr. 5)
                                                Exercisable      Date         Title                         Shares

   Class B Common Stock                              (1)             (1)         Class A Common             6,712,500(2)(3)           (1)               D
  Explanation of Responses:
  1. As described in the issuer's registration statement on Form S-1 (File No. 333-256472) (the "Registration Statement") under the heading "Description of Securities--Founder
  Shares," the shares of Class B common stock, par value $0.0001 per share, will automatically be converted into shares of Class A common stock, par value $0.0001 per share, at
  the time of the issuer's initial business combination, on a one-for-one basis, subject to certain adjustments described therein, and have no expiration date.
  2. These shares represent Class B common stock held by ARC Global Investments II LLC (the "Sponsor") acquired pursuant to a subscription agreement by and between the
  Sponsor and the issuer. The Class B common stock owned by the Sponsor includes up to 937,500 shares that are subject to forfeiture in the event the underwriters of the issuer's
  initial public offering do not exercise in full their over-allotment option as described in the issuer's Registration Statement.
  3. Patrick Orlando, Chairman and Chief Executive Officer of the issuer, is the managing member of the Sponsor and has voting and investment discretion with respect to the
  securities held by the Sponsor. As such, Mr. Orlando may be deemed to have beneficial ownership of the shares of Class B common stock held directly by the Sponsor. Mr.
  Orlando disclaims any beneficial ownership of the reported shares other than to the extent of any pecuniary interest he may have therein, directly or indirectly.

                                                                                                             ARC Global Investments
                                                                                                             II /s / Patrick Orlando,               09/02/2021
                                                                                                             Managing Member
                                                                                                      ** Signature of Reporting
                                                                                                                                                    Date
                                                                                                      Person
  Reminder: Report on a separate line for each class of securities beneficially owned directly or indirectly.
  * If the form is filed by more than one reporting person, see Instruction 5 (b)(v).
  ** Intentional misstatements or omissions of facts constitute Federal Criminal Violations See 18 U.S.C. 1001 and 15 U.S.C. 78ff(a).
  Note: File three copies of this Form, one of which must be manually signed. If space is insufficient, see Instruction 6 for procedure.
  Persons who respond to the collection of information contained in this form are not required to respond unless the form displays a currently valid
  OMB Number.



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